          Case 1:16-cv-00902-SCJ Document 29 Filed 04/13/17 Page 1 of 6



                   IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION


JUAN PEREZ,

    Plaintiff,
                                               CIVIL ACTION FILE
    v.
                                               NO. 1:16-cv-00902-SCJ
COBB COUNTY, COBB COUNTY
POLICE DEPARTMENT, and
THOMAS BASTIS,

    Defendants.


            REPLY BRIEF IN SUPPORT OF DEFENDANT COBB
                   COUNTY’S MOTION TO DISMISS
             PLAINTIFF’S SECOND AMENDED COMPLAINT

                               I. INTRODUCTION

         In response to Defendant Cobb County’s Motion to Dismiss, Plaintiff Juan

Perez again reasserted allegations this Court previously held insufficient. His Second

Amended Complaint failed to adequately plead any defective custom or policy

authorized by the County. Plaintiff also apparently conceded any state law claims

against the County are barred by sovereign immunity, as he offered no response to

that argument. Therefore, all Plaintiff’s claims against the County should be

dismissed.




                                         -1-
        Case 1:16-cv-00902-SCJ Document 29 Filed 04/13/17 Page 2 of 6



              II. ARGUMENT & CITATIONS TO AUTHORITY

   A. Plaintiff has not alleged facts plausibly showing that Cobb County is
      responsible for a defective policy or custom making it liable under § 1983
      for malicious prosecution.

      Providing no factual details, Plaintiff continued to insist that the allegations

regarding a County Commissioner incident referenced in his Second Amended

Complaint standing alone sufficiently alleged County liability. (Doc. 27, pp. 3-4).

However, this Court has held this exact allegation was insufficient without

“additional factual allegations.” (Doc. 19, p. 12). Moreover, Plaintiff abandoned any

attempt to rely upon three prior reported cases involving the County by failing to

respond with factual details and relegating their mention to a footnote.

      Thus, as to his efforts to show a defective policy or custom, Plaintiff is left

with only his allegation in the instant case that an unnamed supervisor signed off on

Detective Bastis’s allegedly falsified reports without subsequent correction; this,

however, falls short of the type of tacit authorization or deliberate indifference

required to establish County liability. On this point, Plaintiff merely quoted from

Griffin v. City of Opa-Locka, 261 F.3d 1295, 1308 (11th Cir. 2001), for the general

“tacitly authorize[d]” or “deliberate indifference” language without providing any

authority to support his scant analysis. In fact, a closer look at Griffin shows that

case was replete with facts showing policymakers therein had extensive knowledge

of the specific misconduct alleged, and such notice was crucial to the Court’s finding

                                         -2-
         Case 1:16-cv-00902-SCJ Document 29 Filed 04/13/17 Page 3 of 6



of municipal liability based on tacit authorization or deliberate indifference. Id. at

1308-12. As argued in the County’s initial brief, Plaintiff neither alleged Detective

Bastis or the unnamed supervisor were County policymakers, as required to establish

Plaintiff’s theory of County liability (Matthews v. Columbia Cty., 294 F.3d 1294,

1297-98 (11th Cir. 2002)), nor that any supervisor or other County employee or

official knew of Detective Bastis’s alleged misconduct (Rizzo v. Goode, 423 U.S.

362, 373-77 (1976); Griffin, 261 F.3d at 1308-12; Owens v. City of Atlanta, 780 F.2d

1564, 1567 (11th Cir. 1986)).

       Plaintiff’s rank speculation and conclusions are insufficient to allege either a

policy or custom to satisfy Twombly and Iqbal’s plausibility pleading standards.

Therefore, the County cannot be held liable under § 1983 for the alleged actions of

Detective Bastis, and Plaintiff’s claims against Cobb County should be dismissed.

    B. Plaintiff’s state law claims are barred by sovereign immunity.

       Plaintiff also apparently conceded any state law claims against the County are

barred by sovereign immunity, as he offered no response to that argument.

                                III.   CONCLUSION

       For all reasons presented by Defendants, the Court should grant the County’s

motion to dismiss all claims against it.1



1
 This document has been prepared in Times New Roman (14 pt.) font, which has
been approved by the Local Rules of this Court.
                                            -3-
       Case 1:16-cv-00902-SCJ Document 29 Filed 04/13/17 Page 4 of 6



                                    Respectfully Submitted,


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                                     -4-
           Case 1:16-cv-00902-SCJ Document 29 Filed 04/13/17 Page 5 of 6



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                                              NO. 1:16-cv-00902-SCJ
COBB COUNTY, COBB COUNTY
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                           CERTIFICATE OF SERVICE

         I hereby certify that I have this day electronically filed the foregoing REPLY

BRIEF IN SUPPORT OF DEFENDANT COBB COUNTY’S MOTION TO

DISMISS PLAINTIFF’S SECOND AMENDED COMPLAINT with the Clerk of

Court using the CM/ECF system which will automatically send email notification of

such filing to the following attorneys of record:

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       Case 1:16-cv-00902-SCJ Document 29 Filed 04/13/17 Page 6 of 6



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     This 13th day of April, 2017.


                                     s/ Austin D. Roberson
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